                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
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ROWVAUGHN WELLS, Individually
and as Administratrix Ad Litem of the
Estate of Tyre Deandre Nichols, deceased,

       Plaintiff,

VS.                                                         2:23-cv-02224-MSN-atc

CITY OF MEMPHIS, a municipality,
CHIEF CERELYN DAVIS in her
official capacity,
EMITT MARTIN III in his individual capacity,
DEMETRIUS HALEY in his individual capacity,
JUSTIN SMITH in his individual capacity,
DESMOND MILLS, Jr. in his individual capacity,
TADARRIUS BEAN in his individual capacity,
PRESTON HEMPHILL in his individual capacity,
ROBERT LONG in his individual capacity,
JAMICHAEL SANDRIDGE in his individual capacity,
MICHELLE WHITAKER in her individual capacity, and
DEWAYNE SMITH in his individual capacity and as
an agent of the City of Memphis,

      Defendants.
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            STATUS REPORT OF DEFENDANT DEMETRIUS HALEY
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       COMES NOW, Defendant Demetrius Haley, individually, through Counsel, and files this

status report for the Court:

       1.      Since the proceedings in this case were stayed as to Demetrius Haley, a federal

criminal indictment has issued.

       2.      Counsel for Demetrius Haley in this case has been monitoring the criminal


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proceedings and has regularly discussed the criminal case with Mr. Haley’s counsel in both the

state and federal criminal proceedings.




                                                   Respectfully submitted,
                                                   LAW OFFICE OF STEPHEN R.
                                                   LEFFLER, P.C.

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                                     Certificate of Service

I hereby certify that the foregoing upon has been served upon for following counsel via ECF:

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this 1st day of November, 2023.




                                         s/Stephen R. Leffler




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